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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

LUMINATI NETWORKS LTD.                           §
                                                 §
                   Plaintiff,                    §
                                                 §
                                                           Case No. 2:18-CV-00483-JRG
       v.                                        §
                                                 §
BI SCIENCE, INC.,                                §
                                                 §
                   Defendant.                    §

                       NOTICE OF ACTION IN RELATED MATTER

       Defendant BI Science (2009) Ltd. hereby notifies the Court of a decision issued by the

Supreme Court of Israel in a related matter on December 17, 2020. A true and correct copy of

the decision is attached hereto as Exhibit A. A certified English translation of the same is

attached hereto as Exhibit B. The attached order stays the November 29, 2020 decision of the

Tel Aviv District Court, about which Luminati notified this Court on December 4, 2020 (Dkt.

No. 251).
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 Dated: December 28, 2020                 Respectfully submitted,

                                          By: /s/ J.C. Rozendaal
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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 28th day of December 2020, with a copy of this document via the

Court’s CM/ECF system.


                                                 /s/ J.C. Rozendaal
                                                J.C. Rozendaal
